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March 21, 2018

Via ECF

Hon. Katherine B. Forrest
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007

Re: Komanda LLC v. Kartina Canada Inc. et al (17-cv-2362)

Your Honor:

We represent Defendants Kartina Canada, Inc. (“Kartina Canada”) and Online Ethnic TV Services, Inc.
(“OETV”) in the above referenced matter. Defendant Nash Dom, Inc. (“Nash Dom”) joins in this letter
(Kartina Canada, OETV, and Nash Dom, collectively “Defendants”).

Defendants do not contest Plaintiff ’s filing of a Notice of Voluntary Dismissal without prejudice.

Thank you for your consideration.

Respectfully submitted,

/s/Olivera Medenica

Cc:    David G. Liston, Esq. (via ECF and email)
       Alex Patchen, Esq. (via ECF and email)
       Elizabeth Velez, Esq. (via ECF and email)
       Robert Greener, Esq. (via ECF and email)




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